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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                               SOUTHERN DIVISION


LUCID MANUFACTURING INC.,                           4:15-CV-04122-KES

                  Plaintiff,

                                                JUDGMENT OF DISMISSAL
      vs.

LUCID LLC, and
JASON WILSON,

                  Defendants.



      Pursuant to the parties’ joint motion to dismiss (Docket 19), it is

      ORDERED, ADJUDGED, AND DECREED that the above-entitled action

is dismissed with prejudice and without costs to either of the parties.

      DATED this 28th day of March, 2017.

                                     BY THE COURT:


                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE
